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                             UNITED STATES OF AMERICA
                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:10-cr-00222
                                    )
v.                                  )                 Honorable Paul L. Maloney
                                    )
ASANTE MOLEFI PARKER,               )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on October 28, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Asante Molefi Parker entered a plea of guilty to Counts One and Two of the

Superseding Indictment in exchange for the undertakings made by the government in the written

plea agreement. In Count One of the Superseding Indictment, defendant is charged with conspiracy

to possess with intent to distribute and to distribute 1,000 kilograms or more of marijuana, a

Schedule I controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A)(vii). In

Count Two of the Superseding Indictment, defendant is charged with conspiracy to launder money

in violation of 18 U.S.C. §§ 1956(h) and (a)(1)(B)(i). On the basis of the record made at the hearing,

I find that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-
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ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Counts One and Two of the

Superseding Indictment be accepted, that the court adjudicate defendant guilty, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: October 29, 2010                                 /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                       NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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